      Case 4:10-cr-00281 Document 29 Filed on 06/16/10 in TXSD Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-10-281
                                                 §
                                                 §
ROBERT VEAZIE                                    §
FELTON GREER`                                    §

                                          ORDER

       Defendant Veazie filed an unopposed motion for continuance, (Docket Entry No.28).

The codefendant is unopposed to the motion. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The

docket control order is amended as follows:

       Motions are to be filed by:                   August 16, 2010
       Responses are to be filed by:                 August 30, 2010
       Pretrial conference is reset to:              September 7, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:        September 13, 2010, at 9:00 a.m.


              SIGNED on June 16, 2010, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
